                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                      CIVIL ACTION NO. 3:16-CR-295-MOC-DCK

 UNITED STATES OF AMERICA,                              )
                                                        )
                Plaintiff,                              )
                                                        )
     v.                                                 )       ORDER
                                                        )
 ELYSSA BREANNE SHUFORD,                                )
                                                        )
                Defendant.                              )
                                                        )

          THIS MATTER IS BEFORE THE COURT on Defendant’s “Motion To Seal”

(Document No. 86) filed June 16, 2017. Having carefully considered the motion, the record, and

for good cause shown, the undersigned will grant the motion.

          IT IS, THEREFORE, ORDERED that Defendant’s “Motion To Seal” (Document No.

86) is GRANTED. Defendant’s “Motion For Variance” (Document No. 85) shall be sealed and

remain under seal until further order of this Court.




                                             Signed: June 19, 2017




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